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UN|TED STATES DlSTR|CT COURT
DlSTR|CT OF NEW JERSEY

 

Hon. Jose L. Linares
FEDRA ZUZUNAGA Civi| Action No. 18-14173

P|aintiff,
PRETR|AL SCHEDUL|NG ORDER
v.

UN|TED AlRLlNES, lNC.

Defendant.

 

 

THlS MATTER having come before the Court for a scheduling conference pursuant
to Ru|e 16 of the Federa| Rules of Civil Procedure on 1/25/19; and for good cause shown:

|T lS on this 25th day of January, 2019

ORDERED THAT:
|. D|SCLOSURES
1. Fed. R. Civ. P. 26 disclosures have been exchanged
|l. D|SCOVERY
2. Fact discovery is to remain open through 7/12/19. No discovery is to be

issued or engaged in beyond that date, except upon application and for good cause
shown.

3. Written discovery is to be completed by 3/22/19.

4. No objections to questions posed at depositions shall be made otherthan as
to lack of foundation, form or privilege. §gg Fed. R. Civ. P. 32(d) (3) (A). No instruction
not to answer shall be given unless a privilege is implicated.

5. Any discovery dispute shall be brought to the Court's attention in the first
instance by letter or by telephone conference call immediately after the parties' good faith
attempt to resolve the dispute has failed. W L. Civ. R. 16.1(f)(1).

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6. No discovery motion or motion for sanctions for failure to provide discovery
shall be made without prior leave of Court.

Ill. DlSCOVERY CONF|DENT|AL|TY ORDERS

7. Any proposed confidentiality order agreed to by the parties must strictly
comply with Federal Rule of Civil Procedure 26(c) and Local Civil Rule 5.3. § alj
Pansv v. Borough of Stroudsburg, 23 F.3d 772 (3d Cir. 1994); Glenmede Trust Companv v.
Thompson, 56 F.3d 476 (3d Cir. 1995). Any such order must be clearly designated
“Cont"identia|ity Order.” W L. Civ. R. 5.3. “No form of order submitted by parties shall
supersede the provisions of [Loca| Civil Rule 5.3] with regard to the filing of materials or
judicial proceedings.” |d_.

lV. FUTURE CONFERENCES

8. There shall be a telephone status conference before the undersigned on
3/25/19 at 10:30 a.m. Counsel for P|aintiff is to kindly coordinate the call to Chambers
(973-645-2580).

9. The Court may from time to time schedule conferences as may be required,
either ga sponte or at the request of a party.

10. Counsel should be prepared to discuss settlement at every conference with
the Court. The senior attorney in charge of the case must attend all settlement
conferences and client(s) with full settlement authority must either attend or be immediately
available by telephone ln cases involving insurance companies and other corporate or
business entities, it is expected that the executive who will make the final decision on the
settlement will be the person available for the conference.

11. Since all dates set forth herein are established with the assistance and
knowledge of counse|, there will be no extensions except for good cause shown and by
leave of Court, even with consent of all counse|.

12. A copy of every pleading, document or written communication with the Court
shall be served on all other parties to the action. Any such communication which does not
recite or contain a certification of such service may be disregarded by the Court,

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V. MOT|ONS

13. Any motion to add new parties, whether by amended or third-party complaint,
must be filed not later than 4/19/19.

14. Any motion to amend pleadings must be filed not later than 4I19l19.

15. Any motions for leave to amend must be accompanied by a black-lined or
red-lined version of the proposed amended pleading showing all changes to the prior
version. This shall be submitted as an exhibit in support of the motion. The Court may
administratively terminate any motion that does not include such an exhibit.

16. Motions to seal must comply with Local Civil Rule 5.3.

17. No motions are to be filed without prior written permission from this
Court. All dispositive motions must first be subject to a dispositive motion pre-
hearing in order to assure proper calendar control. These prerequisites must be met
before any motions are filed and the motions will be returned if not met. All calendar or
dispositive motions, if permitted, shall comply with Local Civil Rules 7.1(b), and 78.1.

18. Dispositive motions, if any, are to be filed by (TBD).
Vl. EXPERTS

19. Expert discovery is to remain open through 10l31/19.

20. Pursuant to Federal Rule of Civil Procedure 26(a)(2)(D), the parties shall
identify their experts and deliver their expert reports in accordance with the following
deadlines:

a. All affirmative expert reports shall be delivered on or before 8129l19. Any
such report shall be in the form and content as required by Fed. R. Civ.
P. 26(a) (2) (B).

b. All responding expert reports shall be delivered on or before 10/4/19.
Any such report shall be in the form and content as described above.

21. No expert shall testify at trial as to any opinions or base those opinions on
facts not substantially disclosed in his report.

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Vll. F|NAL PRETR|AL CONFERENCE

22. A final pretrial conference shall be conducted pursuant to Civil Rule 16(d) at a
time and date to be assigned.

23. Pursuant to paragraphs 14 and 15 of this Court's form of Final Pretrial Order,
all pretrial submissions must be served upon the Court forty-eight (48) hours prior to the
final pretrial conference.

24. All counsel are directed to assemble at the office of plaintiffs counsel not
later than ten (10) days before the pretrial conference to prepare the proposed Final
Pretrial Order in the form and content required by the Court, as well as the required pretrial
submissions consisting of agreed-upon jury instructions, voir dire questions, verdict sheet,
trial briefs and a neutral statement of the case to be read to the jury panel, all of which
must be submitted forty-eight (48) hours before the final pretrial conference. Plaintiff's
counsel shall prepare the Pretrial Order and shall submit it to all other counsel for approva|.

25. With respect to non-jury tria|s, each party shall submit to the District Judge
and to opposing counsel proposed Findings of Fact and Conclusions of Law, trial briefs
and any hypothetical questions to be put to an expert witness on direct examination.

26. The original of the Final Pretrial Order shall be delivered to Chambers not
later than forty-eight (48) hours before the pretrial conference, along with all pretrial
submissions and trial briefs. All counsel are responsible for the timely submission of the
Pretrial Order and submissions.

27. FA|LURE TO FOLLOW THlS ORDER WlLL RESULT lN SANCT|ONS
PURSUANT TO Fed. R. Civ. P. 16(f) and 37.

s/Joseph A. Dickson
Joseph A. Dickson
United States Magistrate Judge

cc: Hon. Jose L. Linares, U.S.D.J.

